        Case
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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

ALEXA SPRIGGS, et al.                     *
    Plaintiffs,                           *
                                          *
  v.                                      * Case No.: 1:20-cv-3395
                                          *
GEORGE MERLING, et al.                    *
      Defendants.                         *
******************************************************************************
                                   ORDER

       This matter is before the Court upon the Parties’ Joint Motion to Continue Settlement

Conference (the “Joint Motion”). Upon consideration of the Joint Motion, and the record herein,

and finding it appropriate to do so, it is on this ___        July
                                                   20 day of _________, 2022, hereby

       ORDERED, that the Joint Motion is GRANTED; and it is further

       ORDERED, that Counsel are directed to contact Chambers via e-mail to

coordinate scheduling of the Settlement Conference within the next thirty (30) days.



                                     ________________________________
                                     The Honorable J. Mark Coulson
                                     United States Magistrate Judge
